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                                     UNITED STATES DISTRICT COURT
                                 FOR THE WESTERN DISTRICT OF MICHIGAN
                                          SOUTHERN DIVISION


 KAREN SAUNDERS,                                  §
                                                  §
                     Plaintiff,                   §     Civil Docket No. 1:17-CV-335-GJQ-RSK
                                                  §
 v.                                               §
                                                  §                     Honorable Gordon J. Quist
 DYCK O’NEAL, INC.,                               §
                                                  §
                     Defendant.                   §



           NOTICE OF WITHDRAWAL OF MOTION FOR RECONSIDERATION


          TO THE HONORABLE JUDGE OF SAID COURT:

          Comes now, Defendant Dyck O’Neal, Inc. (“DONI”), and files this Notice of Withdrawal

of Motion for Reconsideration, and will respectfully show onto this Court as follows:

                                                  I.

1.        On April 18, 2018, DONI filed its Motion for Summary Judgment in this case. Doc. 25.

The Motion was fully briefed by the parties. Doc. 36; Doc. 48.

2.        On July 16, 2018, the Court issued its Opinion and Order Denying Defendant’s Motion for

Summary Judgment. Doc. 50.

3.        On October 3, 2018, DONI filed its Motion for Reconsideration of the Court’s Opinion

and Order Denying Defendant’s Motion for Summary Judgment. Doc. 55.

4.        DONI now seeks to withdraw the Motion for Reconsideration. Given recent developments

in this case, DONI no longer believes it is in the best interest of DONI, Plaintiff, nor this Court to

proceed with consideration of the Motion for Reconsideration. In the interest of preserving judicial



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resources, DONI requests that this Court disregard the Motion for Reconsideration previously

filed.

          WHEREFORE, PREMISES CONSIDERED, Defendant Dyck O’Neal, Inc., respectfully

requests that this Court withdraw the previously filed Motion for Reconsideration.

                                                              Respectfully submitted,
                                                              MALONE AND MARTIN PLLC
                                                              /s/ Xerxes Martin
                                                              EUGENE XERXES MARTIN, IV
                                                              Texas State Bar No. 24078928
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                                                              Dallas, Texas 75231
                                                              TEL: (214) 346-2630
                                                              FAX: (214) 346-2631
                                                              COUNSEL FOR DEFENDANT
                                                              DYCK O’NEAL, INC.




                                                  CERTIFICATE OF SERVICE
          I hereby certify that a true and correct copy of the above and foregoing has been forwarded
 via CM/ECF, to all parties of interest who have made an appearance in the case on this 27th of
 November, 2018, to:

                                                              /s/ Xerxes Martin
                                                              EUGENE XERXES MARTIN, IV




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